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 Stephen Kelson, # 8458
    Steve.Kelson@chrisjen.com
 Matthew K. Strout, #16732
    Matthew.Strout@chrisjen.com
 CHRISTENSEN & JENSEN, P.C.
 257 East 200 South, Suite 1100
 Salt Lake City, Utah 84111-2047
 Telephone: (801) 323-5000
 Facsimile: (801) 355-3472
 Attorneys for Plaintiffs

                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH

  DAVID ZAMORA, et al.,
                                                        [PROPOSED] ORDER GRANTING
          Plaintiffs,                                 PLAINTIFFS’ AMENDED MOTION TO
                                                                  COMPEL
  vs.
                                                          Case No: 2:22-cv-00616-DBB-DBP
  DOUGLAS QUEZADA, et al.,                                      Judge: David Barlow
                                                           Magistrate Judge Dustin B. Pead
          Defendants.

        Before the Court is Plaintiffs’ Motion to Compel (“Motion”) (Dkt. 61). After consideration

 of the parties’ briefs and arguments, the Court GRANTS the Motion.

        IT IS HEREBY ORDERED that Defendants Lauren Quezada and HQC, LLC shall, within

 fourteen (14) days from the date of this order, serve complete answers to the following

 Interrogatories: (a) Interrogatory Nos. 2, 5, 6, 7, 8, 9, 10, and 11 to Lauren Quezada; and (b)

 Interrogatory Nos. 2, 4, 5, 6 (mislabeled as No. 4), 7 (mislabeled as No. 5), and 8 (mislabeled as No.

 6) to HQC, LLC.

        IT IS FURTHER ORDERED that Defendants Lauren Quezada and HQC, LLC shall, within

 fourteen (14) days from the date of this order, produce all non-privileged documents that are

 responsive to the following Requests for Production: (a) Request Nos. 7, 8, 9, 10, and 11 to Lauren
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 Quezada; and (b) Request Nos. 2, 3, 4, 5, 6, 7, 8, and 9 to HQC, LLC. Any documents that are

 withheld as privileged must be logged in a privilege log served by the above-referenced deadline.

        IT IS FURTHER ORDERED that Defendants Lauren Quezada and HQC, LLC must

 appear for their depositions at a time agreed on by the parties, but no later than thirty (30) days

 from the date of this order.

        IT IS FURTHER ORDERED that Defendants Lauren Quezada and HQC, LLC shall pay

 the reasonable attorneys’ fees incurred by Plaintiffs in making their Motion, pursuant to Fed. R.

 Civ. P. 37(a)(5)(A). Plaintiffs shall file an itemization of such fees containing the information

 required by DUCivR 54-1(a)(2)(B) within fourteen (14) days of the date of this Order. An

 opposition memorandum and reply memorandum regarding the reasonableness of the fees may be

 filed within the timeframes set forth in DUCivR 7-1(a)(4)(D).

        IT IS SO ORDERED.


        Dated this _______ day of December, 2024




                                                      Dustin B. Pead
                                                      United States Magistrate Judge




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